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 1                                                         HONORABLE JOHN C. COUGHENOUR

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 3
                                    UNITED STATES DISTRICT COURT
 4                                 WESTERN DISTRICT OF WASHINGTON
 5                                           AT SEATTLE

 6
     UNITED STATES OF AMERICA,                         ) CASE NO. CR15-0120-JCC
 7                                                     )
                      Plaintiff,                       )
 8                                                     ) MINUTE ORDER
                 v.                                    )
 9                                                     )
     DUY P. NGUYEN,                                    )
10                                                     )
                      Defendant.                       )
11                                                     )
            The following Minute Order is made by direction of the Court, the Honorable John C.
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     Coughenour, United States District Judge:
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            This matter comes before the Court on the parties’ stipulated motion to continue trial
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     and extend the due date for pretrial motions (Dkt. No. 898). Having reviewed the motion and
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     the relevant record, the Court makes the following findings and conclusions:
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            1.        Failure to grant the continuance in this case would be a miscarriage of justice
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     and would deny Defendant the reasonable time necessary for effective preparation, due to
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     defense counsel’s need for more time to review the considerable volume of discovery and
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     evidence produced and still to be produced and to consider possible defenses and motions,
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     taking into account the exercise of due diligence. See 18 U.S.C. § 3161(h)(7)(B)(i), (iv).
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            2.        Given the complexity of the case and the volume of discovery produced and still
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     to be produced, more time is necessary and this is a reasonable period of delay to allow defense
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     counsel to prepare for trial. See 18 U.S.C. § 3161(h)(6), (7).
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            3.        The ends of justice served by granting this continuance outweigh the best
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     interests of the public and Defendant in a speedy trial. See 18 U.S.C. § 3161(h)(7)(A).
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 1          4.      Defendant has filed a speedy trial waiver consenting to a continuance of his trial

 2   to any date up to and including February 15, 2017. (Dkt. No. 897 at 1.)

 3          The Court ORDERS that the jury trial in this case is continued from October 17, 2016

 4   to January 23, 2017 at 9:30 a.m. The Court further ORDERS that the resulting period of delay

 5   from October 17, 2016 to January 23, 2017 is hereby excluded for speedy trial purposes under

 6   18 U.S.C. § 3161(h)(7)(A) and (B). Finally, the Court ORDERS that pretrial motions are due

 7   no later than Thursday, December 15, 2016.

 8          DATED this 4th day of October 2016.

 9                                                          William M. McCool
                                                            Clerk of Court
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11                                                          s/Paula McNabb
12                                                          Deputy Clerk

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